        Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 1 of 23




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.

 STATE OF COLORADO, et al.,

                                Plaintiffs,           Case No. 1:20-cv-03715-APM

 v.                                                   HON. AMIT P. MEHTA

 GOOGLE LLC,

                                Defendant.

                                      PLAINTIFF STATES’
                                       PRETRIAL BRIEF

                                          INTRODUCTION

       Google stands astride the most important entrance to the Internet, maintaining its search-

related monopolies at the expense of people who use general search engines every day and the

companies that pay to advertise on Google. As a result of Google’s conduct, its rivals are unable

to effectively compete due to having less scale and fewer users. In the coming weeks, U.S.

Plaintiffs and Plaintiff States will show that Google uses multiple means to that illegal end,

acting in a manner that discourages innovation and violates the fundamental bedrock of

American antitrust law, the Sherman Act of 1890.




                                                 1
          Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 2 of 23




                                         LEGAL STANDARDS

          Section 2 of the Sherman Act makes it unlawful for a firm to “monopolize” and that

includes monopoly maintenance. See 15 U.S.C. § 2. The offense of monopolization has two

elements: “(1) the possession of monopoly power in the relevant market and (2) the willful

acquisition or maintenance of that power as distinguished from growth or development as a

consequence of a superior product, business acumen, or historic accident.” United States v.

Microsoft Corp., 253 F.3d 34, 50 (D.C. Cir. 2001) (quoting United States v. Grinnell Corp., 384

U.S. 563, 570–71 (1966)).

          A.     Market Definition

          The relevant market comprises two dimensions: (1) the product market, which “identifies

the product and services with which the defendants' products compete,” and (2) the geographic

market, which “identifies the geographic area in which the defendant competes.” Arch Coal,

Inc., 329 F. Supp. 2d 109, 119 (D.D.C. 2004). In this case there is no dispute that the relevant

geographic market is the United States. 1

          To determine which products fall within the same market, a court looks to whether they

are reasonable substitutes. This analysis hinges upon two factors: the products’ functional

interchangeability and the cross-elasticity of their demand. FTC v. Sysco Corp., 113 F. Supp. 3d

1, 25 (D.D.C. 2015). Functional interchangeability “refers to whether buyers view similar

products as substitutes.” Id. Similarly, cross-elasticity of demand refers to the interplay of price-

driven substitution and the “ease and speed with which customers can substitute [the product]

and the desirability of doing so.” Id. (quoting FTC v. Whole Foods Market, Inc., 548 F.3d 1028,

1037 (D.C. Cir. 2008)). Notably “the mere fact that a firm may be termed a competitor in the


1
    Expert Report of Mark Israel, at p. 80 n.149.


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          Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 3 of 23




overall marketplace does not necessarily require that it be included in the relevant product

market for antitrust purposes.” FTC v. Staples, 970 F. Supp. 1066, 1075 (D.D.C. 1997).

          Thus, courts look at both (1) the Supreme Court’s Brown Shoe practical indicia of a

product market; and (2) economic analysis. Sysco, 113 F. Supp. 3d at 27 (listing the factors as

“the product’s peculiar characteristics and uses, unique production facilities, distinct customers,

distinct prices, sensitivity to price changes, and specialized vendors”) (quoting Brown Shoe Co.

v. United States, 370 U.S. 294, 325 (1962)). The Brown Shoe indicia serve as “evidentiary

proxies for direct proof of substitutability.” Rothery Storage & Van Co. v. Atlas Van Lines, Inc.,

792 F.2d 210, 218 (D.C. Cir. 1986).

          B.     Monopoly Power

          A firm has monopoly power if it has “the power to control prices or exclude

competition.” United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956). More

precisely, a firm is a monopolist if it can profitably raise prices substantially above the

competitive level. Microsoft, 253 F.3d at 51. Also, complete exclusion is not required to show

that a monopolist’s conduct harms the competitive process. Id. at 64 (“although Microsoft did

not bar its rivals from all means of distribution, it did bar them from the cost-efficient ones”).

Plaintiffs can establish monopoly power with either direct evidence or indirect evidence. Id.

Indirect evidence is the most familiar – market shares – but direct evidence can be just as helpful.

See FTC v. Indiana Fed’n of Dentists, 476 U.S. 447, 460-61 (1986) (cited in Microsoft, 253 F.3d

at 51).

          C.     Anticompetitive Effects

          A monopolist’s conduct must have an “‘anticompetitive effect,’” that is, “it must harm

the competitive process and thereby harm consumers.” Microsoft, 253 F.3d at 58. However,

harm to one or more competitors by itself will not suffice. See Major League Baseball Props.,

                                                  3
           Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 4 of 23




Inc. v. Salvino, Inc., 542 F.3d 290, 318 (2d Cir. 2008). Therefore, to prove harm to competition,

plaintiffs may introduce evidence demonstrating the monopolist’s power over price or some

other dimension of competition, obtained through exclusionary conduct.

          Significantly, the antitrust laws look beyond pricing alone to assess the existence of

market power. However, the ability to charge higher prices to advertisers is probative of market

power. See Lorain J. Co. v. United States, 342 U.S. 143 (1951); Viamedia, Inc. v. Comcast

Corp., 951 F.3d 429, 475-76 (7th Cir. 2020). The relevance of advertiser prices in this case is

clear because it is advertisers who generate revenues for general search engines.

                                          RELEVANT MARKETS

          Google exercises substantial market power in three relevant markets defined by Plaintiff

States: general search services, general search text advertising, and general search advertising.

          A.      General Search Services in the United States is a Relevant Product Market.

          General search services allow consumers to find responsive information on the internet

by entering keyword queries in a general search engine such as Google, Bing, or DuckDuckGo.

The Court will hear testimony indicating that Bing is Google’s closest substitute. And Plaintiffs

will demonstrate why more specialized forms of search cannot provide a good substitute for the

breadth of general search.

          First, as the Pretrial Brief filed by the U.S. Plaintiffs explains, 2 the breadth of general

search offers consumers a “one-stop shop” to conveniently access an extremely large and diverse

volume of information across the internet. Second, the Court will hear testimony—including by

Dr. Israel, Google’s own expert—showing that important types of queries, like navigational

queries, can only be performed on a general search engine. Third, as Professor Baker will


2
    See U.S. Plaintiffs’ Pre-Trial Brief, Sec. II.A.1.


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          Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 5 of 23




explain, less than half of the results presented by Google in response to a query provide

information from the vertical in which the query is classified. 3 Finally, the Court will hear

testimony showing that search on a Specialized Vertical Providers (“SVPs”) is complementary to

general search, as many queries to general search services help consumers discover and navigate

to SVPs where they can actively conduct a transaction such as buying a product or booking a

flight.

          B.     General Search Text Advertising and General Search Advertising Markets
                 in the United States Are Both Relevant Markets.

          General search text advertising and general search advertising are both relevant product

markets for evaluating Google’s conduct (with the former entirely contained within the latter).

Both ad markets nest within the U.S. Plaintiffs’ “search advertising” product market.

          General search text ads are ads sold by general search engines, typically placed just

above or below the organic search results, often known as the “blue links” that appear on a

Search Engine Results Page (“SERP”). The text ads resemble the blue links but are labeled with

a subtle notation that they are “ads” or “sponsored.” Advertisers will testify about the unique

attributes of general search text ads including that they are a must-have form of advertising for

advertisers regardless of the vertical in which they operate.

          General search advertising encompasses all advertisements sold by a general search

engine that appear on a SERP in response to a general search query. Beyond general search text

ads, a general search engines’ SERP may include vertically focused general search ads, like

product listing ads, local ads and hotel ads, and universals (which, unlike product listing ads, for

example, bring users to immersives, which are linked pages with additional vertical information).



3
    See PSX00868, at 30–31.


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         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 6 of 23




The suppliers for the market for general search and general search ads are virtually identical

because virtually all general search firms are advertising-supported.

        Advertisers view vertically focused general search ads as having similar, but not an

identical, attributes as general search text ads. Google recognizes this point in its pitch to

advertisers. For example, in one internal email, a Google employee explains that product listing

ads (often known as shopping ads) and general search text ads both appear on a general search

engines’ SERP and, accordingly, both provide a way to “‘Gain[] Holistic Search Share’ by

owning the SERP.” 4 Advertisers will confirm this view.

         But advertisers will testify that no other type of ad can substitute for general search ads.

Accordingly, in response to increasing Google Ad prices, they would shift spend between types

of general search ads or, if sufficient inventory is available, to Bing, but not to other ad types.

As Plaintiff States’ marketing expert, Professor Amaldoss, will explain, and advertiser testimony

will confirm, three unique aspects of general search advertising drive advertiser’s view that such

ads are distinct from other ad types: consumer mindset, ad eligibility, and ad functionality

differences.

                1.      Consumer Mindset

        General search text ads and other general search ads differ from other advertising

channels because they more effectively target different consumer mindsets than online display

ads, social media ads, non-digital ads, and ads provided by SVPs, giving them distinct purposes

and advertising customers. Advertisers buy a portfolio of advertisements from different

advertising channels to ensure they are reaching all the different mindsets of their target

audience. Different ad channels target consumers at distinct mindsets, from awareness of a need


4
    PSX00272.


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          Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 7 of 23




to consideration of products satisfying that need to purchasing a specific product. Advertisers

often think of these mindsets as a funnel.

          Ads on SVPs are not substitutes for general search text or other general search ads. SVP

ads are limited to targeting a relatively narrow range of consumer mindsets, i.e., consumers who

have already chosen to visit that specific SVP’s website and who are, on average, more likely to

make their purchase on that specific site because both the search and transaction can be

completed there. By contrast, general search advertising is effective in reaching consumers who

are still considering which product to buy from among different choices offered by different

SVPs. 5

          Take the practice of “conquesting” for example. Google sells text ads even where a user

has entered a company’s brand name, for example, where a user enters a Google query “running

shoes Company A” and sees a SERP with a text ad featuring a direct competitor, Company B.

Why would Company B be willing to pay for an ad where the user has already suggested an

interest in its competitor? Precisely because a user on a general search engine may not have

made up their mind. In contrast, on an SVP or retailer website (such as Amazon), the user has

more likely made a decision because they are on the site where they can complete the transaction

(and, in fact, do not see the variety of choices presented on a Google SERP, such as ads from

Amazon’s direct online competitors). Finally, advertisers will testify that social media ads are

best suited for promoting consumer engagement, and display ads for stoking awareness. Neither

compares to general search advertising in targeting consumers considering products or closer to

purchase. Indeed, because of these differences in purpose between the ad types, advertisers and



5
  PSX00970, at 37, 43-44 (ad agency presentation to a client describing how consumers on
Amazon and Walmart are closer to purchase than consumers on Google and Bing, who are in turn
closer than those targeted by social and display advertisements).

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           Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 8 of 23




marketing firms often group their ad buying departments into separate units for social and

display, search, and retail (or SVP) advertising.

                2.     Availability

       Not all ad types are useful to all advertisers. Consequently, advertisers will testify that

the relevance of advertising depends on their ad buying needs. For example, a financial services

firm that does not sell physical products would have no inclination to purchase product listing

ads or other out-of-segment vertically focused ads on a general search engine or an SVP ad on a

retailer like Amazon. These advertisers have no reasonable substitute for general search text ads.

And for advertisers who have products but decline to sell them on SVP platforms, they cannot

substitute SVP ads for general search ads. These include other SVPs or other businesses that do

not choose to patronize an SVP rival or, in the case of a retailer, to advertise on an SVP that

would be selling their goods to their customers.

                3.     Functionality

       Finally, general search ads (including general search text ads) are functionally different

from most SVP ads. When clicked upon, most SVP ads will only direct a user to a page within

that SVP, not to a third-party site. General search ads, in contrast, click out from the search

engine to the website of an advertiser’s choice—in most cases, its own website. Having users

appear on their own sites is valuable to advertisers because it allows them to collect data on the

encounter and manage the customer relationship, which is important to building customer

loyalty.

                                       MONOPOLY POWER

       A.       Indirect Evidence

       To show indirect evidence of monopoly power, a 65% market share coupled with barriers

to entry is sufficient. See, e.g., Am. President Lines, LLC v. Matson, Inc., 633 F. Supp. 3d 209,

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        Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 9 of 23




224 (D.D.C. 2022). Google commands a large and durable share of each market, which indicates

substantial market power. Google’s general search services market share has increased from

80% in 2012 to nearly 90% today, and Google maintains approximately a 90% market share in

both general search text advertising and general search advertising (and Google’s share has been

at least 80% since 2012).

       Additionally, significant barriers to expansion and entry protect Google’s share of that

market. Experts will testify that the creation, maintenance, and growth of a general search

engine (and thus its corollary advertising products) requires a significant capital investment,

access to effective distribution, highly complex technology, and adequate scale.

       The Court will hear testimony about the relationship between the expense of maintaining

a general-purpose search engine and the small number of those search engines on the market.

Professor Baker will also note that only two general search engines—Google and Bing—

maintain a comprehensive search index, a fundamental component of a general search engine.

       Would-be competitors also face barriers that Google itself created: the exclusive

distribution arrangements central to this case that squelch access to the scale crucial to search

quality and revenue growth. Several witnesses will testify to the importance of scale and its

impact on competitive entry, including:

           •   Employees of general search engine competitors to Google, who will explain the

               importance of scale to search-result quality and revenue growth, especially when

               it comes to tail (or rare) queries;

           •   General search engine competitors will also describe the challenges they have

               faced in their efforts to overcome Google’s monopoly;




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       Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 10 of 23




            •   Google employees will testify that Google’s ranking systems and search

                quality/advertising quality experiments benefit from massive amounts of user data

                that they believe are the most effective way to improve search quality; and

            •   Advertisers will highlight the importance of advertising on general search engines

                with many users and will explain that Bing’s lack of scale limits it as an

                alternative to Google, making it difficult for advertisers to shift spending from

                Google to Bing.

       B.       Direct Evidence

       Witness testimony will also demonstrate direct evidence of Google’s monopoly power in

each market such as Google ignoring potential competitive pressure when making decisions

about its search products and advertising pricing. For example, Google employees have testified

that when designing its user interface, Google simply does not consider whether design changes

will cause users to switch away to a different search engine. And as to pricing, they will explain

that Google does not study Bing’s auction model or its pricing, and more tellingly, that Google

can modify ad auctions to raise prices. Only a monopolist can afford to disregard its

competitors’ business strategies.

       Countless advertisers describe advertising on Google as essential or nearly so, which

indicates that they would not readily switch to advertise on rival general search firms. That

includes SVPs, which continue to rank among the largest purchasers of Google Ads despite

practices that they believe increase their cost of acquiring customers. Google increases its

monopoly advertising revenues by limiting the manner in which certain SVPs can appear in

specific vertical segments and demoting blue links. Yet SVPs do not abandon Google even in

the face of conduct to which they object. Why? Because SVPs, like other advertisers, do not



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         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 11 of 23




view rival search engines as meaningful advertising alternatives. Advertisers, including SVPs,

will testify that they are unable to advertise effectively on Google’s only general search

advertising competitor, Microsoft, because of its smaller scale and fewer users. 6

         Google’s high price-cost margins on general search text advertising indicate that Google

does not expect many advertisers to respond to its high price relative to cost by buying general

search text ads or other general search ads from other general search firms. Together, Google’s

control of pricing, indispensability to advertisers, and high price-cost margins are all direct

evidence of monopoly power, and bulwark the inference drawn from Google’s durable market

share.

                                   ANTICOMPETITIVE CONDUCT

         Google’s exclusionary conduct includes (1) Google’s default distribution agreements

with Android devices, Apple, and browsers; and (2) Google’s operation of SA360 in a manner

that harms advertisers by failing to implement valuable Microsoft Ads features. This conduct

produces anticompetitive effects for both consumers who use general search services and

advertisers and marketers, who rely upon general search services and related advertising

offerings to attract consumers to their websites.




6
  The Court has ruled that Plaintiff States may not proceed on their view that Google harms SVPs
in a manner that makes them weaker partners for Google’s rivals. Accordingly, Plaintiff States
are not relying on evidence of conduct directed against certain SVPs to show harm to competition,
merely as direct evidence of monopoly power. That evidence cannot be used for one purpose does
not render it ineligible to be used for a distinct, relevant purpose. See Pls.’ Opp. To Def.’s Mot. in
Limine to Preclude Evid., Testimony, or Arg. Concerning Abandoned Conduct Allegations, ECF.
No. 649, 2–3.


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       Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 12 of 23




       A.      Google’s Default Distribution Agreements Are Exclusionary, Weakening Its
               Rivals’ Ability to Compete.

       Google’s default distribution agreements raise user switching costs and therefore

maintain Google’s monopoly in general search services. They do so by fueling Google’s scale

advantage and diminishing general search rivals’ ability to compete. By keeping Google’s rivals

at a small scale, Google has likewise made them less attractive business partners to companies

who would otherwise assist in improving those rivals’ products.

       As a result, Google’s rivals are weaker and disadvantaged in their dealing with other

firms that could help them mount a stronger challenge to Google. These “downstream,” see

Summary Judgment Memorandum Opinion, ECF No. 626, at 54, impacts hinder the ability of

Google rivals to compete. Because of the lower demand for Bing ads that come from the default

distribution agreements, independent Search Engine Marketing (“SEM”) tool providers have less

interest in supporting new Microsoft features, which hampers Microsoft’s ability to gain more

advertisers. Because of Bing’s significantly fewer users, especially on mobile, SVPs have little

interest in working with Microsoft, except, perhaps, as an after-thought. 7 Yet their presence is

important to Google’s competitors. As a Microsoft executive said when responding to questions

asking him to explain why Microsoft values partnerships:

       So if you’re looking at a particular hotel, it’s great to know that the review from
       Booking, for example, understanding what that is, and then understanding what
       Tripadvisor, for example, is saying. And so it builds trust, it builds credibility. It
       provides the ability for us to really just to provide a comprehensive answer, and
       that's critical. Having comprehensive, trusted answers is really what you're




7
                         Dep. Tr. at 81:1-16; see id. at 134:8-136:21 (“Because our reliance on
Google has actually only increased. Bing has gone down and it is kind of not relevant anymore.
It has been pushed out.”)


                                                 12
          Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 13 of 23




          looking for when you’re looking—you know, when you’re doing it—making a
          search. 8

In other words, Google’s rivals understand that they cannot take on Google without the

distribution and content provided by other companies.

          Of course, the monopoly power Google has maintained through its exclusionary conduct

enables it to increase the prices for its advertising and diminish its effectiveness without losing

advertisers. For instance, Google has been able to profitably increase prices, while reducing

advertiser control and transparency over the Google advertisements they purchase. 9 This

approach would be unlikely to prevail in a more competitive market. Plaintiff States will

introduce evidence at trial demonstrating that advertising prices are lower in markets in which

Google faces true competition, such as Japan.

          More competition would also lead to greater innovation. For example, as a result of

browsers’ exclusive default agreements with Google, DuckDuckGo, a rival focused on privacy,



                                                  . 10 This stands in stark contrast to Google’s

strategies in other parts of the world where it faces more robust competition. There it focuses on

creating, not limiting, innovation. 11




8
                       (Microsoft) Dep. Tr. at 31:4-16; see id. at 32:10-16 (“one of the things that
is really important is a lot of these searches are done on mobile, and so we don’t have access to
mobile signal, in large part. And so that’s—that’s—you know, it’s important that we—we collect
that signal via partners and partners can provide that to us.”)
9
    See U.S. Plaintiffs’ Pre-Trial Brief, Sec. II(D)(1)–(2).
10
     See also U.S. Plaintiffs’ Pre-Trial Brief, Introduction.
11
     See also U.S. Plaintiffs’ Pre-Trial Brief, Sec. II(B)(4).


                                                    13
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 14 of 23




         B.     Google’s SA360 Conduct Harms Its Own Advertisers and Weakens Its
                Rivals.

         The harm advertisers experience from Google’s default distribution is compounded by

Google’s failure to support new features for Microsoft Ads. Advertisers have expressed concern

with SA360’s failure to adopt Microsoft Ads features and, in a Google-conducted survey, asked

for better integration with Microsoft Ads. Google refused to respond to advertiser demand.

Instead, SA360 advertisers are left unable to use SA360, easily the largest SEM tool provider, to

buy the general search ads from Microsoft that would best work to their advantage.

         Specifically, advertisers and Microsoft witnesses will show how Google further harmed

Microsoft by failing to integrate Microsoft’s auction-time bidding features into SA360. First,

SA360’s sophisticated customers told Google that lack of support for Microsoft Ads auction-

time bidding made their ad campaigns less efficient. 12 Major advertisers expressed concern that

Google’s operation of SA360 is “Google centric” resulting in less efficient ad spending. 13

         Second, Google knew that integrating auction-time bidding had great value for

advertisers: auction-time bidding came to account for    % of SA360 ad spend on Google Ads, 14

demonstrating advertiser interest in real-time bidding strategies. Google’s own documents show

that auction-time bidding increases conversions and ad revenue results by 15–30%. 15 Google

expected auction-time bidding “to drive $




12
   See PSX00441 at 3-5 (describing advertiser         switching two Bing ad campaigns from
SA360 to Microsoft Ads’ native tool); PSX00440 at 1 (describing advertiser        ’s switching
five Bing ad campaigns from SA360 to Microsoft Ads’ native tool); Jason Krueger (Google) Dep.
Tr. at 282:7–13.
13
     PSX00578 at 1.
14
     PSX00386
15
     PSX00386


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         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 15 of 23



          16
               That expected improvement as applied to Microsoft was confirmed when Skai, a

competing SEM tool, began supporting Microsoft Ads auction-time bidding over three years ago,

resulting in a     % increase in sales conversion for advertisers using Microsoft real-time bidding.

         Google itself knew that advertisers were being disadvantaged. When confronted with the

disparity between older bidding strategies and the new real-time bidding strategy implemented

by auction-time bidding, a Google SA360 staffer was “not terribly surprised” that testing of

Microsoft auction-time bidding showed performance improvements “for [the] same reason

google ATB [auction-time bidding] does.” 17 Indeed, even when advertisers complained to

Microsoft about the lack of auction-time bidding making their campaigns less efficient, Google

did not act. The financial impact on Microsoft has been significant. 18

         Finally, the better-optimized campaigns obviously would improve its standing with

important advertisers. But, with SA360 as the dominant SEM tool, Microsoft has been blocked

from optimizing for its customers with the lion’s share of SEM-tool ad spend. 19

                                            CONCLUSION

         Plaintiffs will show at trial that Google has market power in three relevant markets and

that its conduct has harmed competition in each of those markets.




16
     PSX00419
17
     PSX00441
18
     PSX01117; see also PSX00746.
19
     PSX01117


                                                  15
        Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 16 of 23




Dated: August 28, 2023               Respectfully submitted,

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                                       16
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 17 of 23




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                                           17
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 18 of 23




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                                               18
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 19 of 23




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                                               19
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 20 of 23




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                                               20
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 21 of 23




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                                              21
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 22 of 23




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                                                22
         Case 1:20-cv-03010-APM Document 686 Filed 09/08/23 Page 23 of 23




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                                                 23
